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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                            Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                  Judge M. Casey Rodgers
 This Document Relates to All Cases               Magistrate Judge Gary R. Jones


                      CASE MANAGEMENT ORDER NO. 5

       The fifth case management conference in this matter was held on September

27, 2019. This Order serves as a non-exhaustive recitation of the key points of

discussion during the conference.

I.     Master Pleadings

       Plaintiffs’ Master Long Form and Short Form Complaints were filed on

September 20, 2019. See ECF Nos. 703-705. Defendants’ response will be filed by

October 31, 2019. The procedures for use of short form complaints in this litigation

will be set forth in a separate pretrial order.

II.    Census / Tolling

       An order establishing a process for obtaining and producing information for

the initial census in this matter will be entered shortly. All individual plaintiffs with

cases filed in or transferred into the MDL will be required to comply with the census

order. Deadlines related to the initial census, and also deadlines in the parties’ tolling
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agreement (including the expiration of the tolling period), may not be extended

without leave of Court, which will be freely given on a showing of reasonable cause.

III.    Discovery

        The parties have made considerable progress on document discovery in this

matter. They are conferring about a potential issue involving additional custodians.

If any disagreements remain unresolved on Friday, October 4, 2019, then the

parties must so advise the Court that same day. The parties must also immediately

advise the Court of any disputes that arise involving discovery related to Defendants’

affirmative defenses.

        Plaintiffs have submitted a Notice to Inspect a testing facility in Indianapolis,

IN. Defendants’ response is due on October 14, 2019.

        The first 30(b)(6) depositions are scheduled for October 17-18, 2019. The

parties must advise the Court of any disputes regarding the topics to be covered

during those depositions by Friday, October 4, 2019.              The second 30(b)(6)

deposition will begin on Monday, November 11, 2019. The parties disagree on the

number of deposition days that may be used for this deposition. Simultaneous briefs

on this issue must be filed by Tuesday, October 15, 2019.               In their filing,

Defendants must advise whether they intend to cross-notice this deposition. Finally,

if any additional 30(b)(6) notices will be forthcoming, Plaintiffs must so advise

Defendants by Friday, October 4, 2019.



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       The parties were directed to set aside the first three weeks of December 2019

for depositions of fact witnesses. Plaintiffs must disclose to Defendants which fact

witnesses they wish to depose, based on the documents produced to date, by Friday,

October 4, 2019.

IV.    Discovery Master

       The Court will be appointing a special master to help manage the discovery

process for issues related to the affirmative defenses and to assist in moving the

affirmative defenses into a posture for dispositive motion practice.

V.     Motions to Remand

       There are motions to remand currently pending in 77 individual cases, all

seeking remand to Minnesota state courts. Because the disputed removal and

remand issues may overlap with issues related to the affirmative defenses, the parties

are conferring about the possibility of the Court resolving all of these issues at once,

following Phase 1 discovery. The parties are directed to jointly advise the Court of

their proposed plan in this regard by Tuesday, October 15, 2019.

VI.    Multi-Plaintiff Actions

       Approximately 200 cases have been filed in or transferred to this litigation as

multi-plaintiff actions involving claims with different factual predicates (as opposed

to derivative claims), many of which name close to 100 unrelated plaintiffs. Early

on, the Court indicated its inclination to sua sponte find these cases improperly



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joined and order them severed. See Case Management Order No. 1, ECF No. 86 at

4. However, the Court deferred ruling on the issue and will allow the parties to

submit briefs, if they wish to do so, before any action is taken. Plaintiff Leadership

are directed to confer with individual plaintiffs’ counsel, as well as defense counsel,

on a process for addressing multi-plaintiff actions—both the currently pending

actions and future filed cases. The parties must be prepared to meaningfully discuss

this issue at the next case management conference.

VII. Confidentiality

      The Court discussed the possibility of modifying the Stipulated Order

Governing Confidentiality and Privilege, ECF No. 442, to narrow the categories of

information that may be filed under seal to materials that are entitled to be protected

from public disclosure by law. See, e.g., Fed. R. Civ. P. 5.2(a) (privacy protections

for certain personal information); 26(c)(1)(g) (trade secret or other confidential

research, development, or commercial information). The parties are directed to

confer about this issue, including whether they believe Judge Jones may be of

assistance, and be prepared to meaningfully discuss it at the next case management

conference.




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VIII. Upcoming Case Management Conferences

      Case management conferences through the end of the year are scheduled as

follows:

      Friday, October 25, 2019 at 9:30 a.m.

      Friday, November 22, 2019 at 9:30 a.m.

      Monday, December 16, 2019 at 9:30 a.m.

      SO ORDERED, on this 3rd day of October, 2019.


                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE




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